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UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA : Crim. No. 24-793 (BM)
v.
UNSEALING ORDER
AUGUSTINE CHIBUZO
ONYEACHONAM,
STANLEY ASIEGBU,

a/k/a “Stanislaus Asiegbu,” and
CHUKWUEBUKA NWEKE-EZE

This matter came before the Court on application of Philip R. Sellinger,
United States Attorney for the District of New Jersey (Anthony P. Torntore and
Andrew Kogan, Assistant U.S. Attorneys, appearing), for an order unsealing the
Indictment and Arrest Warrants in the above-captioned matter, and good cause
having been shown,

IT IS on this 10th day of December, 2024;

OREDERED that effective on December 11, 2024, the Sealing Order
previously entered in the above-captioned matter is no longer in effect; and it is
further

ORDERED that effective on December 11, 2024, the docket sheet, the

Indictment, the Arrest Warrants, and all related papers in the above-captioned

by bet

HON. BRIAN MARTINOTTI
United States District Judge

matter be UNSEALED.

